           Case 2:10-cr-00168-DAD Document 39 Filed 05/10/10 Page 1 of 2


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 3   Telephone: 916-442-5230
 4   Attorney for:
     CUONG HOANG
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )      CASE NO. 2:10-CR-00168-JAM
                                   )
11                  Plaintiff,     )      STIPULATION AND ORDER CONTINUING
                                   )      DETENTION HEARING
12        v.                       )
                                   )
13   CUONG HOANG, et. al,          )      DATE:     May 13, 2010
                                   )      TIME:     2:00 p.m.
14                  Defendants.    )      COURT:    Hon. Edmund F. Brennan
     ______________________________)
15
                                    Introduction
16
          On April 21, 2010, the Honorable Gregory H. Hollows, ordered
17
     defendant Hoang released from custody.         Per the minute order, the
18
     court specifically ordered:
19
          As to Defendant Cuong Hoang, the defendant is ordered
20        released on a $50,000.00 secured bond. The court will allow
          the defendant released today on a $50,000.00 unsecured bond
21        signed by the defendant's three daughters provided the
          secured $50,000.00 bond is filed by May 13, 2010.
22
          The Honorable Judge Hollows also ordered that if the secured
23
     appearance bond was not in place by May 13, 2010, counsel for
24
     defendant Hoang was to cause this matter to be placed on calendar, on
25
     May 13, 2010, at 2:00 p.m., for further proceedings on the matter of
26
     detention.
27
          Counsel for defense will be engaged in jury trial on May 13,
28

                                          1
              Case 2:10-cr-00168-DAD Document 39 Filed 05/10/10 Page 2 of 2


 1   2010, in the Superior Court of California, County of Sacramento
 2   (People v. Beverly, et. al., case no. 08F09954, Department 11,
 3   Honorable Judge Burger-Plaven).
 4           Counsel for defendant Hoang submits this stipulation and proposed
 5   order to extend the date for the detention hearing one day to May 14,
 6   2010.
 7                                      Stipulation
 8           The parties, through undersigned counsel, stipulate that the
 9   detention hearing ordered to be scheduled for May 13, 2010, may be
10   scheduled for May 14, 2010, at 2:00 p.m.
11           The prosecutor has authorized defense counsel to sign this
12   stipulation on his behalf.
13   DATED: May 9, 2010                  BENJAMIN WAGNER
                                         United States Attorney
14
15                                 by    /s/ Scott Cameron, for
                                         Todd Leras
16                                       Assistant U.S. Attorney
17
     DATED: May 9, 2010            by    /s/ Scott N. Cameron
18                                       Scott N. Cameron
                                         Counsel for CUONG HOANG
19
20                                         Order
21           Good cause appearing,
22           The detention hearing originally ordered to be scheduled for May
23   13, 2010, is to be scheduled for May 14, 2010, at 2:00 p.m., if
24   defendant Hoang’s appearance bond is not already secured by $50,000 as
25   previously ordered.
26           IT IS SO ORDERED.
27   DATED: May 10, 2010.
28

                                             2
